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Attorney for Defendant Jose Luis Morales


                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF CALIFORNIA,              )
                                          ) Case No. 2:07-cr-0314 FCD
                  Plaintiff,              )
                                          )
                                          ) STIPULATION AND ORDER
vs.                                       ) CONTINUING STATUS
                                          ) CONFERENCE AND
JOSE LUIS MORALES,                        ) EXCLUDING TIME
ENRIQUE MORALES,                          )
TERESA MARIA MORALES,                     )
JUAN MORALES, and PETRA                   )
PRECIADO MORALES,                         )
                                          )
                  Defendant.              )
__________________________________________)

The parties hereby stipulate to the following:

       1. A status conference in this matter is now scheduled for Monday, April 26, 2010, at
10:00 a.m.

        2. I am currently in a multiple defendant attempted murder trial in Monterey County.
The trial will take about three to four weeks. I will not be able to make the court hearing on
Monday, April 26, 2010.

       3. I request a continuance of the status conference until June 1, 2010.

       4. It is stipulated by the parties that time continue to be excluded to June 1, 2010.

DATED: April 22, 2010                 (s) Miguel A. Hernandez
                                      Attorney for Defendant, JOSE LUIS MORALES

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DATED: April 22, 2010             (s) Tim Warriner
                                  Attorney for Defendant, TERESA MARIA MORALES

DATED: April 22, 2010             (s) Bruce Locke
                                  Attorney for Defendant, ENRIQUE MORALES

DATED: April 22, 2010             (s) Clarence Emmett Mahle
                                  Attorney for Defendant, JUAN MORALES

DATED: April 22, 2010             (s) Donald P. Dorfman
                                  Attorney for Defendant, PETRA PRECIADO MORALES

DATED: April 22, 2010             (s) Matthew Stegman
                                  Assistant U.S. Attorney


                                        ORDER

       GOOD CAUSE APPEARING, it is hereby ordered that the status conference set for

April 26, 2010, be continued to June 1, 2010, at 10:00 a.m., and that time continue to be

excluded to June 1, 2010.


DATED: April 23, 2010
                                        _______________________________________
                                        FRANK C. DAMRELL, JR.
                                        UNITED STATES DISTRICT JUDGE




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